      Case 2:19-cr-00219-EEF-JCW Document 22 Filed 11/01/19 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                     CRIMINAL ACTION
VERSUS                                                       NO. 19-219
DAMIAN K. LABEAUD                                            SECTION: L

                                        ORDER

      This matter has been referred from the District Judge for a hearing to determine

counsel. Record Doc. No. 18. Accordingly,

      IT IS ORDERED that a hearing to determine counsel is set for November 6, 2019,

at 10:30 a.m. before Magistrate Judge Joseph C. Wilkinson, Jr.

      New Orleans, Louisiana, this 1st day of November 2019.



                                ____________________________________
                                     JOSEPH C. WILKINSON, JR.,
                                UNITED STATES MAGISTRATE JUDGE
